                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                          )
                                                    )
                         Plaintiff,                 )
                                                    )          No. 3:14-CR-85
 v.                                                 )
                                                    )
 ROBERT N. HICKS,                                   )          (PHILLIPS / SHIRLEY)
                                                    )
                         Defendant.                 )
                                                    )

                                      ORDER OF COMMITMENT

               All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This matter came before the Court on October 24, 2014,

 for a competency hearing. Assistant United States Attorney Caryn L. Hebets appeared on behalf

 of the Government. Attorney James W. Clements, III, represented the Defendant Robert Hicks,

 who was also present.

               The parties stipulated in open court to the ten-page Forensic Evaluation report

 [Doc. 213] by Forensic Psychologist Jessica Micono of the Federal Detention Center in

 Englewood, Colorado (FDC Englewood).         The parties agreed that this report was the only

 evidence before the Court regarding the Defendant’s competency.       Dr. Micono attempted to

 evaluate the Defendant from September 17, to September 30, 2014. The Defendant participated

 in one interview with Dr. Micono but declined to participate in any other evaluation or testing.

 Based upon observation and a review of the Defendant’s prior mental health records, Dr. Micono

 diagnosed the Defendant with Schizophrenia and Methamphetamine and Cannabis Use Disorder.

 Dr. Micono opined that the available information suggests that the Defendant suffers from a


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 mental disorder “that significantly impairs his present ability to understand the nature and

 consequences of the court proceedings against him, and his ability to properly assist in his

 defense.” [Doc. 213, p.9] She recommends that the Defendant be committed for mental health

 treatment and competency restoration. Due to the Defendant’s refusal to cooperate with the

 evaluation, Dr. Micono was not able to make a determination of the Defendant’s sanity at the

 time of the alleged offense.

                “The test for a defendant’s competency to stand trial is ‘whether he has sufficient

 present ability to consult with his lawyer with a reasonable degree of rational understanding–and

 whether he has a rational as well as factual understanding of the proceedings against him.’”

 Mallet v. United States, 334 F.3d 491, 494-95 (6th Cir. 2003) (quoting Dusky v. United States,

 362 U.S. 402, 402 (1960)). Section 4241 requires the Court to commit the defendant to the

 custody of the Attorney General if it finds by a preponderance of the evidence “that the

 defendant is presently suffering from a mental disease or defect rendering [him] mentally

 incompetent to the extent that he is unable to understand the nature and consequences of the

 proceedings against [him] or to assist properly in [his] defense.” 18 U.S.C. § 4241(d). Based

 upon Dr. Micono’s report, the Court finds by a preponderance of the evidence that the Defendant

 does have and suffer from a mental disease that interferes with his ability to understand the

 nature and consequences of the proceedings against him or to assist properly in his defense.

 Thus, the Court finds that Defendant Hicks is not presently competent to stand trial.

                Accordingly, the Court ORDERS that the Defendant be committed to the custody

 of the Attorney General for treatment at an appropriate federal medical facility. The Defendant

 will be designated to the facility by the Attorney General or his designee and shall be transported

 there as soon as is reasonable. The Defendant is to remain at the facility for a reasonable period



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 of time, not to exceed four months, as is necessary to determine whether there exists a substantial

 probability that the defendant will attain the capacity to permit the trial to take place in the

 foreseeable future. 18 U.S.C. § 4241(d)(1). Following this initial assessment, the report of

 which shall be sent to the Court, the Defendant, if he has not attained the capacity for trial to

 proceed, may be detained at the facility for an additional reasonable time period until the earlier

 of the following:

                (A) [his] mental condition is so improved that trial may proceed, if
                the court finds that there is a substantial probability that within
                such additional period of time he will attain the capacity to permit
                the trial to proceed; or

                (B) the pending charges against [him] are disposed of according to
                law.

 If the facility requests and the Court grants that the Defendant remain at the facility for an

 additional reasonable time beyond the initial four-month assessment period, the facility is

 ordered to provide the Court with semi-annual reports regarding the Defendant’s condition and

 progress beginning with a report two months after the four-month assessment period. See 18

 U.S.C. § 4247(e)(1)(A).

                Additionally, while at the federal medical facility, the Defendant is to undergo

 additional testing and evaluation, particularly an evaluation of whether the defendant suffered

 from a mental disease or defect that rendered him insane at the time of the offense charged.

 Although the Court ordered that an evaluation of the Defendant’s sanity at the time of the offense

 be conducted at the same time as the competency evaluation, Dr. Micono was unable to complete

 this part of the evaluation due to the Defendant’s paranoia and refusal to participate. She

 suggested that the sanity evaluation be conducted once his competency is restored. The Court

 orders that the treating facility conduct this testing and evaluation.



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                If at any time during the Defendant’s commitment at the facility, the director of

 the facility determines that the Defendant has recovered his competency, the director shall file a

 certificate to that effect promptly with the clerk of this Court. See 18 U.S.C. § 4241(e). The

 Court will then hold a hearing pursuant to 18 U.S.C. § 4247(d) to determine the Defendant’s

 competency to stand trial. 18 U.S.C. § 4241(e). If the Court finds that the Defendant is

 competent at that time, it shall order the Defendant’s immediate discharge from the facility and

 shall set a trial date. Id. In such event, upon discharge, the Defendant will be transported back

 to this district where he will be detained while awaiting trial or pending further orders of the

 Court.

                The Court observes that Dr. Micono’s report states that the Defendant’s mental

 disease has previously been treated with medication. The report also states that the Defendant

 was not on any medication while at FDC Englewood. The Defendant’s records reflect that he

 was involuntarily medicated for a few weeks at the North Florida Evaluation and Treatment

 Center in 2012, after which time, the Defendant decided to take his needed medication

 voluntarily. While being treated with his needed medications, the Defendant made “significant

 steady progress” and was ultimately rendered competent. The Defendant’s records reflect when

 he subsequently stopped taking his medication, he became psychotic, paranoid, and suicidal.

 Accordingly, the Defendant is DIRECTED to submit to the ordered examination and treatment

 and is strongly encouraged to take any medications prescribed by the staff at the treating facility.

                The Court has set a status conference for February 19, 2015, at 1:30 p.m. With

 regard to other scheduling in this case, the Court notes that even if the Defendant’s mental

 condition improves during the initial four-month period to the point that he is competent to stand

 trial, a realistic trial date cannot be set, because upon the Defendant’s release from the medical



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 facility, the Court will still have to hold a hearing to determine the competency of the Defendant.

 The Court finds that the time during which the Defendant is undergoing mental evaluation for

 competency as well as any time during which the defendant is deemed incompetent are

 excludable periods under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(A) and (4). At the

 October 24 competency hearing, both counsel agreed that all time from the Defendant’s original

 commitment on August 25, 2014, up to the next status conference is excludable. For these

 reasons, the Court finds that all of the time between August 25, 2014, and the February 19, 2015

 status conference is fully excludable under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(A)

 and (4).

                Accordingly, it is ORDERED:

                (1) The Court finds Defendant             Hicks    to   be   presently
                INCOMPETENT to stand trial;

                (2) The Defendant is committed to the custody of the Attorney
                General for treatment as well as additional evaluation and testing,
                particularly with regard to his sanity at the time of the offense, at a
                federal medical facility for a reasonable period of time not to
                exceed four months as set forth more fully above:

                (3) The Defendant shall be designated and transported to the
                approved federal medical facility as soon as reasonably possible;

                (4) If at the end of the four-month treatment period, the designated
                federal medical facility determines that an additional reasonable
                period of treatment is needed, the facility shall make written
                request of the same of the Court;

                (5) If at the end of the treatment period, the designated federal
                medical facility determines that there is not a substantial
                probability that the Defendant’s competence will be restored in the
                foreseeable future, the facility is to send a report of same to the
                Court. In such case, the Defendant shall not be transported back to
                the district but shall remain at the treating facility;




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            (6) The government and defense counsel shall appear for a
            competency hearing or status conference on February 19, 2015,
            at 1:30 p.m.;

            (7) The Defendant’s trial date is removed, to be reset at such
            time when the Defendant is found competent to proceed;

            (8) All time between the Defendant’s original commitment on
            August 25, 2014, and the February 19, 2015 status conference is
            fully excludable under the Speedy Trial Act;

            (9) The United States Marshal is DIRECTED to notify the Clerk
            of the Court and the undersigned’s office promptly when
            Defendant returns to this jurisdiction from the mental evaluation
            and treatment. If the Defendant has returned in time, the marshals
            shall bring him to the February 19, 2015 competency
            hearing/status conference; and

            (10) The Clerk of Court is DIRECTED to serve copies of this
            order on counsel of record and to serve three certified copies on the
            United States Marshal.

            IT IS SO ORDERED.

                                          ENTER:

                                               s/ C. Clifford Shirley, Jr.
                                          United States Magistrate Judge




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